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                              United States District Court
                                     EASTERN DISTRICT OF TEXAS
                                        TEXARKANA DIVISION




 UNITED STATES OF AMERICA                            §
                                                     §
 V.                                                  §           CASE NO. 5:15CR18(13)
                                                     §
 JAY DEE DOOLIN                                      §


                                   ORDER ADOPTING
                           THE REPORT AND RECOMMENDATION
                        OF THE UNITED STATES MAGISTRATE JUDGE



           The above-styled matter was referred to the Honorable Caroline M. Craven, United States

 Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

 Procedure. Judge Craven conducted a hearing on November 14, 2016 in the form and manner

 prescribed by Federal Rule of Criminal Procedure 11 and issued a Report and Recommendation

 (document # 805). Judge Craven recommended that the Court accept Defendant’s guilty plea and

 conditionally approve the plea agreement. She further recommended that the Court finally adjudge

 Defendant as guilty of Count 1 of the Indictment filed against Defendant in this cause.

           No objections to the magistrate judge’s findings were filed. The Court is of the opinion that

 the Report and Recommendation should be accepted. It is accordingly ORDERED that the Report

 and Recommendation of the United States Magistrate Judge (document # 805) is ADOPTED. It is

 further

           ORDERED that the Defendant’s guilty plea is accepted and approved by the Court. Further,

 the plea agreement is approved by the Court, conditioned upon a review of the presentence report.

 It is finally

           ORDERED that, pursuant to the Defendant’s plea agreement, the Court finds the Defendant
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 GUILTY of Count 1 of the Indictment in the above-numbered cause and enters a JUDGMENT

 OF GUILTY against the Defendant as to Count 1 of the Indictment.
        SIGNED this 5th day of December, 2016.



                                                       ____________________________________
                                                       ROBERT W. SCHROEDER III
                                                       UNITED STATES DISTRICT JUDGE




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